      Dated: 6/30/2017

              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE
IN RE:                                      )
JOSHUA HUTCHISON, and                       )
ALLYSHA HUTCHISON                           )      CASE NO. 16-05686
7443 CHOWNING RD                            )      CHAPTER 13
SPRINGFIELD, TN 37172                       )      JUDGE WALKER
XXX-XX-0577; XX-XX-4359                     )
      Debtor.                               )

   AGREED ORDER RESOLVING TRUSTEE’S MOTION TO DISMISS CASE FOR
                 CAUSE PURSUANT TO 11 U.S.C. 1307(c)

        It appears to the Court that the Trustee has filed a Motion to Dismiss Case for Cause
Pursuant to 11 U.S.C. 1307(c) in the above-styled case due to Debtors disclosing that
Yamaha/gemb (“Yamaha”) has a claim for $2,903.54 secured by a water purification system
rather than a 2008 Yamaha XVS65XB/C VIN #JYAVM01E58A119703. Debtors have since
amended Schedule B to disclose their ½ interest in the Yamaha XVS65XB/C VIN
#JYAVM01E58A119703. Debtors also filed a Motion to Abandon/Surrender their interest in the
Yamaha XVS65XB/C VIN #JYAVM01E58A119703 on May 19, 2017 and the order granting
this motion was entered on June 15, 2017. It is therefore

       ORDERED, that the Trustee’s Motion to Dismiss for Cause Pursuant to 11 U.S.C
1307(c) is denied.


     This Order was signed and entered electronically as indicated at the top of this page.


APPROVED FOR ENTRY:

                                                        Digitally signed by /s/ Henry E. Hildebrand, III

/s/ Henry E. Hildebrand, III
Henry E. Hildebrand, III
                                                        DN: cn=/s/ Henry E. Hildebrand, III, o=Chapter 13 Trustee's Office, ou=Finance (51),
                                                        email=pleadings@ch13nsh.com, c=US
                                                        Date: 2017.06.29 10:37:27 -05'00'


Chapter 13 Trustee
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/s/ Scott D. Wilson
SCOTT D. WILSON, NO. 20339



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                                                              This Order has been electronically
                                                              signed. The Judge's signature and
                                                              Court's seal appear at the top of the
                                                              first page.
                                                              United States Bankruptcy Court.

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